Case 3:21-cv-00104-DMS-BGS Document 17 Filed 04/29/21 PageID.98 Page 1 of 3




  1
      Rodeen Talebi (CA SBN 320392)             STEPHEN M. LOBBIN
      FISH & RICHARDSON P.C.                    sml@smlavvocati.com
  2   633 West Fifth Street, 26th Floor         SML AVVOCATI P.C.
  3
      Los Angeles, CA 90071                     888 Prospect Street, Suite 200
      Telephone: (213) 533-4240                 San Diego, California 92037
  4   Facsimile: (858) 678-5099                 (949) 636-1391 (Phone)
  5
      Email: talebi@fr.com

  6   Neil J. McNabnay (pro hac vice)
  7   Ricardo J. Bonilla (pro hac vice)
      Noel Chakkalakal (pro hac vice)
  8   FISH & RICHARDSON P.C.
  9   1717 Main Street, Suite 5000
      Dallas, TX 75201
 10   Telephone: (214) 747-5070
 11   Facsimile: (214) 747-2091
      mcnabnay@fr.com
 12   rbonilla@fr.com
 13   chakkalakal@fr.com
 14   Attorney(s) for Defendant
      LYTX, Inc.
 15

 16
                     IN THE UNITED STATES DISTRICT COURT
 17                FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 18

 19   SOCIAL POSITIONING INPUT                     CASE NO.: 3:21-CV-00104-DMS-
      SYSTEMS, LLC                                 BGS
 20

 21
                         Plaintiff,

 22   v.
                                                   JURY TRIAL DEMANDED
 23   LYTX, INC.,
 24
                         Defendant.
 25

 26

 27               JOINT STIPULATION AND ORDER OF DISMISSAL
 28         Plaintiff Social Positioning Input Systems, LLC and Defendant Lytx, Inc., by
                                                1
                            JOINT STIPULATION AND ORDER OF DISMISSAL
Case 3:21-cv-00104-DMS-BGS Document 17 Filed 04/29/21 PageID.99 Page 2 of 3




  1   their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
  2         1.     All claims asserted by the Plaintiff in this Action are dismissed with
  3   prejudice and all claims asserted by the Defendant in this Action are dismissed
  4   without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
  5         2.     Each party shall bear its own costs and attorneys’ fees with respect to the
  6   matter dismissed hereby;
  7         This Stipulation and Order shall finally resolve the Action between the parties.
  8

  9   Dated: April 29, 2021                  Respectfully submitted,
 10

 11
                                             /s/ Stephen M. Lobbin
                                             Stephen M. Lobbin
 12                                          sml@smlavvocati.com
 13
                                             SML AVVOCATI P.C.
                                             888 Prospect Street, Suite 200
 14                                          San Diego, California 92037
 15
                                             (949) 636-1391 (Phone)

 16                                          Attorney(s) for Plaintiff Social Positioning
 17                                          Input Systems, LLC

 18

 19                                          /s/ Noel F. Chakkalakal

 20
                                             Rodeen Talebi (CA SBN 320392)
 21                                          FISH & RICHARDSON P.C.
                                             633 West Fifth Street, 26th Floor
 22
                                             Los Angeles, CA 90071
 23                                          Telephone: (213) 533-4240
                                             Facsimile: (858) 678-5099
 24
                                             Email: talebi@fr.com
 25
                                             Neil J. McNabnay (pro hac vice)
 26
                                             Ricardo J. Bonilla (pro hac vice)
 27                                          Noel Chakkalakal (pro hac vice)
                                             FISH & RICHARDSON P.C.
 28

                                                  2
                              JOINT STIPULATION AND ORDER OF DISMISSAL
Case 3:21-cv-00104-DMS-BGS Document 17 Filed 04/29/21 PageID.100 Page 3 of 3




  1
                                         1717 Main Street, Suite 5000
                                         Dallas, TX 75201
  2                                      Telephone: (214) 747-5070
  3
                                         Facsimile: (214) 747-2091
                                         mcnabnay@fr.com
  4                                      rbonilla@fr.com
  5
                                         chakkalakal@fr.com

  6                                      Attorney(s) for Defendant Lytx, Inc.
  7

  8

  9    SO ORDERED this _____ day of _______________, 2021.
  10

  11                                     ______________________________________
  12                                     United States District Judge
  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28

                                              3
                          JOINT STIPULATION AND ORDER OF DISMISSAL
